Case 4:18-cr-00339 Document 209-1 Filed on 01/18/22 in TXSD Page 1 of 7




               EXHIBIT A
Case 4:18-cr-00339 Document 209-1 Filed on 01/18/22 in TXSD Page 2 of 7
10/4/21, 10:11 AM Case    4:18-cr-00339 Document 209-1 Filed   onSearch
                                                       Franchise   01/18/22
                                                                        Results in TXSD Page 3 of 7



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                                              Franchise Tax Account Status
                                                   As of : 10/04/2021 09:10:55



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                                                    CC PHARMACY, LLC
                      Texas Taxpayer Number 32058740427
                                                     16607 CACTUS BLOSSOM TRL CYPRESS, TX 77433-
                                  Mailing Address
                                                     6360
          Right to Transact Business in FRANCHISE TAX INVOLUNTARILY ENDED
                                  Texas Request tax clearance to reinstate entity
                              State of Formation TX
          Effective SOS Registration Date 11/05/2015
                       Texas SOS File Number 0802325414
                      Registered Agent Name CLINT CARR
        Registered Office Street Address 16607 CACTUS BLOSSOM TRL CYPRESS, TX 77433




https://mycpa.cpa.state.tx.us/coa/coaSearchBtn#                                                                      1/1
Case 4:18-cr-00339 Document 209-1 Filed on 01/18/22 in TXSD Page 4 of 7
10/4/21, 10:12 AM Case    4:18-cr-00339 Document 209-1 Filed   onSearch
                                                       Franchise   01/18/22
                                                                        Results in TXSD Page 5 of 7



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                                              Franchise Tax Account Status
                                                   As of : 10/04/2021 09:11:43



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                                                   CC PHARMACY 2, LLC
                      Texas Taxpayer Number 32059759715
                                                     3200 SOUTHWEST FWY STE 2200 HOUSTON, TX
                                  Mailing Address
                                                     77027-7533
          Right to Transact Business in FRANCHISE TAX INVOLUNTARILY ENDED
                                  Texas Request tax clearance to reinstate entity
                              State of Formation TX
          Effective SOS Registration Date 03/02/2016
                       Texas SOS File Number 0802405082
                      Registered Agent Name JOEL RHEMAN
                                                     3200 SOUTHWEST FREEWAY, SUITE 2200 HOUSTON,
        Registered Office Street Address
                                                     TX 77027




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Case 4:18-cr-00339 Document 209-1 Filed on 01/18/22 in TXSD Page 6 of 7
10/4/21, 10:12 AM Case    4:18-cr-00339 Document 209-1 Filed   onSearch
                                                       Franchise   01/18/22
                                                                        Results in TXSD Page 7 of 7



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                                              Franchise Tax Account Status
                                                   As of : 10/04/2021 09:12:29



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                                                   CC PHARMACY 3, LLC
                      Texas Taxpayer Number 32062142974
                                                     337 SOUTHWESTERN BLVD SUGAR CREEK SUGAR
                                  Mailing Address
                                                     LAND, TX 77478-0000
          Right to Transact Business in FRANCHISE TAX INVOLUNTARILY ENDED
                                  Texas Request tax clearance to reinstate entity
                              State of Formation TX
          Effective SOS Registration Date 11/22/2016
                       Texas SOS File Number 0802589513
                      Registered Agent Name STEPHEN JACKSON
                                                     337 SOUTHWESTERN BLVD, SUGAR CREEK SUGAR
        Registered Office Street Address
                                                     LAND, TX 77478




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